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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

NATHSON E. FIELDS,                             )
                                               )
                       Plaintiff,              )       No.     10 C 1168
                                               )
       v.                                      )       Hon. Matthew F. Kennelly
                                               )
CITY OF CHICAGO, et al.,                       )
                                               )
                       Defendants.             )

         COOK COUNTY’S SUR-REPLY IN SUPPORT OF ITS MOTION TO
      STRIKE PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGEMENT

       Cook County (“the County”), by and through its counsel, submits the following sur-reply

in support of its motion to strike Plaintiff’s Motion for Partial Summary Judgment, pursuant to

the Court’s request at the January 29, 2014 status hearing:

                                        INTRODUCTION

       In its response1 to Plaintiff’s motion for default or, in the alternative, for summary

judgment against the County (“County Response”), the County demonstrated that Plaintiff has

no Monell claim pending against it and that, in fact, no such claim was ever brought by Plaintiff.

In his reply2 (“Plaintiff’s Reply”), Plaintiff withdraws his motion for default, but asks this Court

to allow him to “revive” a Monell claim against the County – i.e., to amend his complaint to add

a new Monell claim against the County – so he can proceed on a motion for summary judgment

against it. It is apparent from the factual allegations contained in Plaintiff’s Third Amended

Complaint and briefs that Plaintiff’s purported Monell claim pertains to the alleged policies and

practices of the State’s Attorney’s Office (“SAO”). Because the County has no policy making

1
  Cook County’s Response to Plaintiff’s Motion For Default and Motion to Strike Plaintiff’s Motion For
Partial Summary Judgment Against It (Dkt. 462).
2
  Plaintiff’s Reply to County’s Response to Motion For Default Judgment, and County’s Motion to Strike
Plaintiff’s Motion For Summary Judgment (Dkt. 472).
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authority for the SAO (against which a Monell claim would be barred by the Eleventh

Amendment), or for criminal prosecutions, as a matter of law, any attempt by Plaintiff to amend

his complaint to add a Monell claim against the County would be futile. Consequently, Plaintiff’s

request to amend his complaint and proceed on a Monell claim against the County, including a

motion for summary judgment, should therefore be denied.

                                          DISCUSSION

       Plaintiff’s attempt to effectively amend his complaint to add a Monell claim against the

County should be denied because it would be futile. See Perkins v. Silverstein, 939 F.2d 463,

471-472 (7th Cir. 1991) (noting that the right to file an amended complaint is “not absolute” and

“a district court may deny leave to amend if the proposed amendment fails to cure the

deficiencies in the original pleading, or could not survive a second motion to dismiss.”); Duda v.

Bd. of Educ., 133 F.3d 1054, 1057 n. 4 (7th Cir. 1998) (same); and Foster v. DeLuca, 545 F.3d

582, 584 (7th Cir. 2008) (same). No basis exists as a matter of law for any purported Monell

claim against Cook County.

       Plaintiff does not, and cannot, allege any policy, practice, or custom of the County which

allegedly caused a violation of his constitutional rights. Furthermore, there are no allegations

against any county employees in the TAC (nor could there be). “A county is liable for depriving

an individual’s constitutional rights only if the deprivation was the result of the county’s official

policy, custom, or practice.” Wilson v. Giesen, 956 F.2d 738, 744 (7th Cir. 1991), citing Monell v.

Department of Social Services, 436 U.S. 658 (1978). Plaintiff has not set forth any factual matter,

in either his Third Amended Complaint ((Dkt. 106-1) (“TAC”)), in his motion for partial

summary judgment, or in his Reply, that could even arguably support a cognizable Monell claim

against the County.




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        As discussed in the County’s Response (at ¶ 6), Plaintiff relies on several paragraphs of

the TAC which contain allegations against the SAO. These include allegations about the

handling of “street files.” In defendants’ motion to dismiss Plaintiff’s TAC, defendants pointed

to these allegations as evidence Plaintiff was trying to hold the individual ASA Defendants liable

under some sort of Monell theory relating to the alleged policies and practices of the SAO. (See

Supplemental Memorandum of Defendants Larry Wharrie, David Kelley, and Cook County in

Support of Their Motion to Dismiss Plaintiff’s Third Amended Complaint (Dkt. 109) (“County

Memorandum”) at pp. 5-6; attached as Exhibit A to the County Response.) As defendants noted

there, any Monell claim against the SAO would be barred by the Eleventh Amendment and any

claim attempt to hold the individual ASA defendants liable for the alleged policies and practices

of the SAO should be dismissed.

        Plaintiff is now simply substituting “County” for “State’s Attorney” in his motion for

summary judgment as the target of his claim in connection with the same allegations about the

handling of street files. (See County Response at ¶ 19.) Compounding this confusion, in his

Reply Plaintiff discusses a prosecutor’s obligations under Brady v. Maryland and alleges

interactions between the Chicago Police Department and the SAO, but then without any further

explanation refers to the “county’s clear duties to the Plaintiff” and the “requirements imposed

on the county defendants by the Supreme Court’s jurisprudence”.3 (Plaintiff’s Reply at 3.)

Plaintiff simply substitutes “County” interchangeably for “State’s Attorney’s Office” in his

discussion, although clearly referring factually to the SAO and prosecutors. Plaintiff’s attempt to




3
 Plaintiff refers at times to County defendants in the plural. This further suggests that Plaintiff is seeking
to impermissibly hold the County substantively liable for the alleged conduct of the individual ASA
Defendants. Any viable Monell claim must be against the County based on some policy or practice of the
County.


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evade the Eleventh Amendment bar on a Monell claim against the SAO is improper and wrong as

a matter of law.

       The County established in its motion to dismiss, and reiterated in its present Response,

that the County cannot be held directly or vicariously liable for the alleged actions and conduct

of the SAO or its employees. (See County Response at ¶¶ 4-5 and Exhibit A thereto.) The

primary reason for this is that, in Illinois, State’s Attorneys and Assistant State’s Attorneys are

not County employees. See, e.g., McGrath v. Gillis, 44 F. 3d 567, 571 (7th Cir. 1995). The

County is not involved with criminal prosecutions and does not establish prosecutorial policy. It

is the State’s Attorney’s duty to prosecute criminal cases on behalf of the People of Illinois. See

55 ILCS 5/3-9005. The State’s Attorney is an independent state officer whose office was created

under the judicial article of the Illinois Constitution. See Ingemunson v. Hedges, 549 N.E.2d

1269, 1271-72 (Ill. 1990), citing Hoyne .v Danish, 106 N.E. 341 (Ill. 1914).

       In Stokes v. City of Chicago, 660 F. Supp. 1459, 1462 (N.D. Ill. 1987), the court

consequently found:

       . . . a prosecutor does not possess the authority to establish county policy because
       the prosecutor acts on behalf of the state and People of Illinois when prosecuting
       criminal cases. The prosecutor’s actions are independent of the county and county
       board. [* * *] The county board has neither the authority to establish policy for
       the State’s Attorney nor the power to delegate prosecutorial duties to the State’s
       Attorney. The County of Cook cannot establish a prosecutorial policy. Jones v.
       City of Chicago, 639 F. Supp. 146, 154 (N.D. Ill. 1986). The County of Cook has
       no statutory involvement powers or duties regarding criminal prosecutions.
       Prosecutorial duties and prosecutions in the state courts are performed by the
       State’s Attorney and not by the county board.

In Jones, which is cited by the Stokes court and which involved the “street file” issue advanced

by Plaintiff, the court found as a matter of law that the County had no involvement in criminal

prosecutions and dismissed the plaintiff’s attempt to state a Monell claim against Cook County,

holding, “[t]he County of Cook has no prosecutorial policy and, therefore, did not cause



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plaintiff’s alleged injuries.” Jones, 639 F. Supp. at 154. See also Horstman v. County of DuPage,

284 F.Supp.2d 1125, 1130-32 (N.D. Ill. 2003) (holding that any policies promulgated by the

state’s attorney are not attributable to the county, which is therefore not liable for plaintiff’s

injuries under Monell).

       As stated above, Plaintiff does not name any County employee in his TAC (the individual

ASA Defendants being State, not County employees), nor does he attempt to identify any alleged

County, as opposed to SAO, policy. Plaintiff simply alleges, incorrectly, that the County

“consists in part of the Cook County State’s Attorney’s Office” and that the County is

“responsible for the acts of its employees” (TAC, ¶ 8) and “liable as a necessary party for the

torts committed by its agents” (TAC, ¶ 126). This is clearly incorrect as a matter of law, as

discussed in defendants’ motion to dismiss. Under similar circumstances, citing Stokes and

Jones, the court in Carr v. City of Chicago, 85 C 8322, 1988 U.S. Dist. LEXIS 4598 (N.D. Ill.

May 18, 1988) (Moran, J.), dismissed a Monell claim against Cook County based on the

purported responsibility of the County for the operation of the SAO. The court explained,

“Plaintiff’s only factual claim is that the county operates the state’s attorney’s office. Not only

has plaintiff failed to identify a specific County policy but it is difficult to imagine how he could

show such a policy, given the County’s complete lack of control over the establishment of

prosecutorial policy in the state’s attorney’s office.” Carr at *6.

       For the same reasons set forth in Stokes, Jones, Horstman, and Carr, Plaintiff’s attempt to

state a Monell claim against the Count fails as well. It is clear that the only bases of the Monell

claim Plaintiff wishes to pursue now are the alleged policies and practices of the SAO, or the

alleged conduct of its employees. Because the County may not be held substantively liable for

the alleged conduct of the SAO or its employees as a matter of law, and because the County has




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no policy making authority with respect to criminal prosecutions or the SAO as a matter of law,

Plaintiff’s attempt to amend his complaint to substitute the County for the SAO for purposes of

stating a Monell claim would therefore be futile, in that the amended complaint could not survive

a second motion to dismiss. Plaintiff’s request in his Reply to proceed on such a claim should

therefore be denied.

       WHEREFORE, for the above and foregoing reasons, together with those set forth in its

initial Response, Cook County respectfully request that this Court deny Plaintiff’s request to

amend his complaint to add a new Monell claim against the County and enter an order striking

Plaintiff’s Motion for Partial Summary Judgment, and for such further relief as the Court deems

just and appropriate.

                                            Respectfully submitted,

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                               CERTIFICATE OF SERVICE


      I, Stephen L. Garcia, Assistant State’s Attorney, hereby certify that I caused a copy of
Cook County’s Sur-reply in Support of Its Motion to Strike Plaintiff’s Motion For Partial
Summary Judgment to be served on the individuals listed below at their respective addresses by
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                                            _s/ Stephen L. Garcia_____________


Re:    Nathson Fields v. City of Chicago, et al., 10 C 1168




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